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Attorneys For Plaintiffs




                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION



LAWRENCE P. CIUFFITELLI, for himself           Case No. 3:16-cv-00580-AC
and as Trustee of CIUFFITELLI
REVOCABLE TRUST; GREG and ANGELA
JULIEN; JAMES and SUSAN                        DECLARATION OF ROBERT S.
MACDONALD, as Co-Trustees of the               BANKS, JR. IN SUPPORT OF CLASS
MACDONALD FAMILY TRUST; R.F.                   COUNSEL'S MOTION FOR AWARD
MACDONALD CO.; ANDREW NOWAK,                   OF ATTORNEY FEES AND COSTS
for himself and as Trustee of the ANDREW
NOWAK REVOCABLE LIVING TRUST
U/A 2/20/2002; WILLIAM RAMSTEIN; and
             Case 3:16-cv-00580-AC       Document 598       Filed 10/15/19      Page 2 of 4




GREG WARRICK, for himself and, with
SUSAN WARRICK, as Co-Trustees of the
WARRICK FAMILY TRUST, individually
and on behalf of all others similarly situated,

                 Plaintiffs,

   v.

DELOITTE & TOUCHE LLP;
EISNERAMPER LLP; SIDLEY AUSTIN
LLP; TONKON TORP LLP; TD
AMERITRADE, INC.; INTEGRITY BANK &
TRUST; and DUFF & PHELPS, LLC,

                 Defendants.

         I, Robert S. Banks, Jr., declare under penalty of perjury that the following statements are

true and correct.

        1.       I am one of the attorneys for the Plaintiffs in this action. The statements herein

are based upon personal knowledge and made under the penalties of perjury.

        2.       I represent many clients who are Aequitas investors. When I learned that Stoll

Berne and Hagens Berman intended to file a class action, I decided that it was in my clients’ best

interests and a better use of court and attorney resources to work with Stoll Berne and Hagens

Berman in a support role than to file a separate lawsuit for my clients.

        3.       Because of the large number of Aequitas investor-clients that I had, I was in
frequent contact with my clients, providing them with updates and obtaining documents and

information pertinent to the Class claims. I also assisted Stoll Berne and Hagens Berman in

making strategic decisions, drafting pleadings and briefs, and in settlement negotiations. In part

because of my particular expertise in the operations of brokerage firms, I assisted in development

of the legal and factual basis for the Class claims against TD Ameritrade.

        4.       My firm at the time, Samuels Yoelin Kantor, LLC (“SYK”) and I accepted this

case on a contingent fee basis. During this litigation I departed SYK and returned to solo law


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         COUNSEL'S MOTION FOR AWARD OF ATTORNEY FEES AND COSTS
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practice at Banks Law Office, PC. Neither SYK nor I have been compensated for our services

performed in this case.

       5.       I have reviewed the time records for this matter as retained by SYK and by me

after I departed that firm. The chart below sets forth the number of hours worked by

professional, and the current hourly rates of those professionals.



  Timekeeper                Position             Total Hours     Current Rate        Total

  Robert S. Banks, Jr.      Owner                307.00          $495                $151,965

  Darlene Pasieczny         Associate            84.40           $260                $21,944

  Angela Clark              Paralegal            17.60           $215                $3,784

  Victoria Blachly          Partner              1.00            $425                $425

  Denise Gorrell            Partner              1.00            $350                $350

  Walker R. Clark           Associate            0.30            $225                $67.50

  TOTALS                                         411.30                              $178,535.50



       6.       I believe all of the time reflected in the chart was reasonable and necessary to

achieve the result in this case.

       7.       I led the securities practice group at SYK. I have more than 35 years of
experience practicing in the area of complex civil litigation, including securities litigation. I am

the former Chair of the Oregon State Bar Securities Regulation Section and former President of

the Public Investors Arbitration Bar Association. Darlene Pasieczny, is an associate attorney

with SYK, has practiced law since 2013, primarily in securities litigation. Angela Clark is a

paralegal with 15 years of experience. The other attorneys reflected in the SYK billing records

billed less than five hours in this case.

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         COUNSEL'S MOTION FOR AWARD OF ATTORNEY FEES AND COSTS
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       I certify under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Dated this 15th day of October, 2019.



                                             s/Robert S. Banks, Jr.,
                                             Robert S. Banks, Jr., OSB No. 821862
                                             Email: bob@bankslawoffice.com




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         COUNSEL'S MOTION FOR AWARD OF ATTORNEY FEES AND COSTS
